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                                 #:151234
                                 #:150384




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                                 #:150385
                                 #:151235
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                                 #:150386
                                 #:151236
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                                 #:150387
                                 #:151237
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                 #:150388
                                 #:151238
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
                                                 05/01/23 Page 6 of 50 Page ID
                                 #:150389
                                 #:151239
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
                                                 05/01/23 Page 7 of 50 Page ID
                                 #:150390
                                 #:151240
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                 #:150391
                                 #:151241
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                 #:150392
                                 #:151242
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150393
                                  #:151243
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
                                                 05/01/23 Page 11 of 50 Page ID
                                  #:150394
                                  #:151244
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
                                                 05/01/23 Page 12 of 50 Page ID
                                  #:150395
                                  #:151245
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150396
                                  #:151246
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
                                                 05/01/23 Page 14 of 50 Page ID
                                  #:150397
                                  #:151247
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
                                                 05/01/23 Page 15 of 50 Page ID
                                  #:150398
                                  #:151248
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150399
                                  #:151249
Case 8:20-cv-00048-JVS-JDE Document 1726-2
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                                  #:150400
                                  #:151250
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                                  #:150401
                                  #:151251
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150402
                                  #:151252
Case 8:20-cv-00048-JVS-JDE Document 1726-2
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                                  #:150403
                                  #:151253
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150404
                                  #:151254
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
                                                 05/01/23 Page 22 of 50 Page ID
                                  #:150405
                                  #:151255
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150406
                                  #:151256
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150407
                                  #:151257
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
                                                 05/01/23 Page 25 of 50 Page ID
                                  #:150408
                                  #:151258
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150409
                                  #:151259
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150410
                                  #:151260
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150411
                                  #:151261
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                                    1718-1 Filed 05/04/23
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                                  #:150412
                                  #:151262
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150413
                                  #:151263
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                                    1718-1 Filed 05/04/23
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                                  #:150414
                                  #:151264
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                                    1718-1 Filed 05/04/23
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                                  #:150415
                                  #:151265
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                                    1718-1 Filed 05/04/23
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                                  #:150416
                                  #:151266
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                                    1718-1 Filed 05/04/23
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                                  #:150417
                                  #:151267
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150418
                                  #:151268
Case 8:20-cv-00048-JVS-JDE Document 1726-2
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                                  #:150419
                                  #:151269
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                                  #:150420
                                  #:151270
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                                    1718-1 Filed 05/04/23
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                                  #:150421
                                  #:151271
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                                    1718-1 Filed 05/04/23
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                                  #:151272
                                  #:150422
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                                  #:151273
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                                    1718-1 Filed 05/04/23
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                                  #:150424
                                  #:151274
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                                    1718-1 Filed 05/04/23
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                                  #:150425
                                  #:151275
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                                    1718-1 Filed 05/04/23
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                                  #:150426
                                  #:151276
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                                    1718-1 Filed 05/04/23
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                                  #:150427
                                  #:151277
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                                    1718-1 Filed 05/04/23
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                                  #:150428
                                  #:151278
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                                    1718-1 Filed 05/04/23
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                                  #:150429
                                  #:151279
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150430
                                  #:151280
Case 8:20-cv-00048-JVS-JDE Document 1726-2
                                    1718-1 Filed 05/04/23
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                                  #:150431
                                  #:151281
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                                    1718-1 Filed 05/04/23
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                                  #:150432
                                  #:151282
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                                    1718-1 Filed 05/04/23
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                                  #:150433
                                  #:151283
